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                             UNITED STATES DISTY CT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                              CASE.18-20530-CR-UNGARO


 UNITED STATES OF AM ERICA,

                Plaintiff,
 V.

 JAVIER ESTEPA,eta1.,

                     Defendant.
                                  /


                        O R DE R R E-SET TIN G SEN TEN CIN G DA TE

       TH IS M ATTER ishereby re-setfor Sentencing before the H on.U rsula U ngaro atthe

 United StatesDistrictCourt,Eleventh FloorCourtroom ,400N orth M iam iAvenue,12-4 M inmi,

 Florida on M AY 24,2019 at10:30 A.M .

       DONE and ORDERFD in Cham bersattheUnited StatesDistrictCourt,M iami,Florida

 thisIVdayofMay,2019.

                                                 URSULA UNGARO
                                                 UN ITED STA TES D ISTM CT JU D G E



 cc: Counselofrecord
